                       Case 2:17-cv-04540-WB Document 126-558 Filed 01/07/19 Page 1 of 1
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      Certain Preventive Services Under the Affordable Care Act

      Comment On: CMS-2012-0031-63161
      Coverage of Certain Preventive Services under Affordable Care Act

      Document: CMS-2012-0031-63605
      Sim Miller-ID



                                              Submitter Information
      Name: Sim Miller
      Address:
        St Maries,  ID,  83861
      Organization: Individual


                                                   General Comment
      I do not think any company religious or not should be mandated to pay for abortion drugs or
      procedures, if they wish the law allows them to do so but it should never be mandatory.




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